               Case 2:16-cr-00216-DAD Document 60 Filed 05/16/19 Page 1 of 3


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     Attorney for Defendant
5
     ZACHERY BASTIEN
6

7

8                                  UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                            Case No.: 2:16-CR-216 GEB
12
                     Plaintiff,
13
     vs.                                                  STIPULATION AND [PROPOSED] ORDER
14                                                        CONTINUING STATUS CONFERENCE
     ZACHERY JOSEPH BASTIEN, and
15
     ALYSSA LYNNE NAKAMURA PRICE,
                                                          Date:       June 14, 2019
16
                     Defendants.                          Time:        9:00 a.m.
17                                                        Court:      Hon. Garland E. Burrell, Jr.

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20
             It is hereby stipulated and agreed by and between plaintiff United States of America, on
21
     the one hand, and Defendant Zachery Bastien, on the other hand, through their respective
22
     attorneys, that the status conference presently set for May 17, 2019, at 9:00 a.m., be continued
23
     by the Court to June 14, 2019, at 9:00 a.m., to allow defense counsel to review with his client a
24
     proposed resolution offer provided by the United States, research the potential consequences of the
25
     recently enacted First Step Act, and respond to the client’s questions about the First Step Act’s
26
     impact on sentencing options available to him, and to otherwise prepare Mr. Bastien’s matter for a
27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:16-cr-00216-DAD Document 60 Filed 05/16/19 Page 2 of 3


1
     potential change of plea hearing.
2
             This case involves, among other allegations, that both defendants participated in a conspiracy
3
     to structure monetary transactions (18 U.S.C.§ 371) and actual structuring of monetary transactions
4
     (31 U.S.C. § 5324(a)(3)). The matter is set as to both defendants for a jury trial scheduled to begin
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     on January 21, 2020, with a Trial Confirmation Hearing set for December 6, 2019. This stipulation
6
     does not alter those dates.
7
             Defendant Bastien’s matter is set by itself for a status conference on May 17, 2019. Mr.
8
     Bastien’s counsel is requesting continuance of the status conference. The government does not
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     oppose the request to continue the status conference. Time under the Speedy Trial Act has

11   previously been excluded, up to and including, the January 21, 2020 trial date (ECF Entry 58). No

12   additional finding is necessary regarding exclusion of time.

13           Assistant U.S. Attorney Samuel Wong has reviewed this stipulation and authorized Attorney

14   Todd D. Leras via email to sign it on his behalf.

15

16           Dated: May 15, 2019                            /s/ Todd Leras
                                                            ___________________________
17                                                          TODD LERAS
                                                            Attorney for defendant
18
                                                            ZACHERY BASTIEN
19

20           Dated: May 15, 2019                                   MCGREGOR W. SCOTT
                                                            United States Attorney
21

22                                                          /s/ Samuel Wong
                                                     By:    _______________________
23                                                          SAMUEL WONG
                                                            Assistant United States Attorney
24
                                                            (Per email authorization)
25

26

27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:16-cr-00216-DAD Document 60 Filed 05/16/19 Page 3 of 3


1
                                                       ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its Order. It is
4
     hereby ORDERED that the presently set May 17, 2019, at 9:00 a.m., status conference hearing
5
     shall be continued to June 14, 2019, at 9:00 a.m.
6
            Based on the previous exclusion of time requested by defense counsel, up to and
7
     including the presently-scheduled jury trial date of January 21, 2020, no further finding is
8
     required regarding time under the Speedy Trial Act.
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                    IT IS SO ORDERED.

11          Dated: May 16, 2019

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     ORDER CONTINUING STATUS
28   CONFERENCE
